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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,                       )
                                                 ) C.A. No. 1:19-cv-01654-RGA
              Plaintiff,                         )
                                                 )
       v.                                        ) TRIAL BY JURY DEMANDED
                                                 )
MONDELEZ GLOBAL LLC,                             )
                                                 )
              Defendant.                         )

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Now comes Plaintiff, Symbology Innovations LLC, by and through the undersigned

counsel, and hereby voluntarily dismisses all of the claims asserted against Defendant Mondelez

Global LLC in the within action with prejudice. This notice of dismissal pursuant to Civ. R.

41(a)(1) is proper inasmuch as the Defendant has neither answered nor moved for summary

judgement.

Dated: February 12, 2020                 By:
                                               /s/ Stamatios Stamoulis
                                               Stamatios Stamoulis
                                               Stamoulis & Weinblatt LLC
                                               800 N. West Street, Third Floor
                                               Wilmington, Delaware 19801
                                               Tel: (302) 999-1540
                                               Email: stamoulis@swdelaw.com

                                               Together with:

                                               Sand, Sebolt & Wernow Co., LPA
                                               Howard L. Wernow
                                               (Pro Hac Vice)
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                                               4940 Munson Street, N.W.
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                                               Symbology Innovations LLC
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    SO ORDERED this _________ day of ____________________, 2020



                                         ____________________________________
                                          United States District Court Judge




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